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                    EXHI               “A”
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                                                                      23-A-06462-6


                    SUPERIOR                     COUNTY


                               )


     Plaintiffs,

                                                             23-A-06462-6




     Defendant.                )




                               Service Company




           -6229
  remington@lawhuggins.com
  mdturner@lawhuggins.com
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                                                                                                                    23-A-06462-6


                         ☐                ☐        Court   GWINNETT



                                                                          23-A-06462-6
                   _________________________                             _________________________
                        MM-DD-YYYY

Plaintiff(                                                 Defendant(s)
_________________________________________________
       Oscar                                               __________________________________________________
                                                                                    Company
                                                                                                                 Prefix
________________________________________
       Gwendolyn                                                        ________________________________________
                                                                                                                 Prefix
________________________________________                                ________________________________________
                                                                                                                 Prefix
________________________________________                                ________________________________________
                                                                                                                 Prefix

Plaintiff’ Attorney            Turner                       Bar Number 216414                    Self-Represented ☐

                                               C



        ☐                                                       ☐         Adoption
        ☐                                                       ☐
        ☐        Contract                                                 Maintenance
        ☐        Garnishment                                    ☐
        ☐                                                       ☐         Paternity/Legitimation
        ☐                                                       ☐                  – IV-D
        ☐                                                       ☐                  –            -IV-D)
        ☐        Landlord/Tenant                                ☐
        ☐
        ☐                                                       Post-Judgment –
        ☐                                                       ☐         Contempt
        ☐                                                           ☐     Non-                       support,
        ☐        Other          Civil
                                                                ☐        Modification
                                                                ☐        Other/Administrative

☐



                                                              Number

☐


☐
                                                                                                      Required

☐
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